Case 1:15-cv-07433-LAP Document 1199-25 Filed 01/27/21 Page 1 of 4




                     EXHIBIT B
Case 1:15-cv-07433-LAP Document 1199-25 Filed 01/27/21 Page 2 of 4


                                                                     Page 1


       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
       - - - - - - - - - - - - - - - - - - - - x
       VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                             Case No.:
            -against-                        15-cv-07433-RWS

       GHISLAINE MAXWELL,

                    Defendants.

       - - - - - - - - - - - - - - - - - - - - x

                            **CONFIDENTIAL**

                  Videotaped deposition of GHISLAINE
             MAXWELL, taken pursuant to subpoena, was
             held at the law offices of BOIES
             SCHILLER & FLEXNER, 575 Lexington
             Avenue, New York, New York, commencing
             April 22, 2016, 9:04 a.m., on the above
             date, before Leslie Fagin, a Court
             Reporter and Notary Public in the State
             of New York.

                            - - -
                  MAGNA LEGAL SERVICES
              1200 Avenue of the Americas
               New York, New York 10026
Case 1:15-cv-07433-LAP Document 1199-25 Filed 01/27/21 Page 3 of 4


                                                                     Page 75
 1               G Maxwell - Confidential
 2          Q.      Do you recall having a basket full
 3    of sex toys?
 4          A.      I already told you I did not.
 5          Q.      We were talking a moment ago about
 6    Ms. Roberts and her position as a masseuse,
 7    do you know what she was paid for working as
 8    a masseuse for Jeffrey Epstein?
 9          A.      I do not.
10          Q.     Did you ever pay her?
11          A.     I don't ever recall paying her.
12          Q.     Do you know what happened during
13    the massage appointments with Jeffrey Epstein
14    and Virginia Roberts?
15                 MR. PAGLIUCA:      Objection to the
16          form and foundation.
17          A.     No.
18          Q.     Were you ever present to view a
19    massage between Jeffrey Epstein and Virginia
20    Roberts?
21          A.     I don't recollect ever seeing
22    Virginia and Jeffrey in a massage situation.
23          Q.     Do you ever recollect seeing them
24    in a sexual situation?
25          A.     I never saw them in a sexual
Case 1:15-cv-07433-LAP Document 1199-25 Filed 01/27/21 Page 4 of 4


                                                                     Page 76
 1               G Maxwell - Confidential
 2    situation.
 3          Q.      Did you ever participate in sex
 4    with Virginia Roberts and Jeffrey Epstein?
 5          A.      I never ever at any single time at
 6    any point ever at all participated in
 7    anything with Virginia and Jeffrey.            And for
 8    the record, she is an absolute total liar and
 9    you all know she lied on multiple things and
10    that is just one other disgusting thing she
11    added.
12          Q.     Did you help her obtain an
13    apartment in Palm Beach to live in?
14                 MR. PAGLIUCA:      Objection to the
15          form and foundation.
16          Q.     Was that part of your
17    responsibilities for Jeffrey?
18          A.     First of all, I didn't know she had
19    an apartment in Palm Beach.          I only learned
20    that from the many times you guys have gone
21    to the press to sell stories, so no.
22          Q.     Did you help her get a cell phone,
23    was that one of your responsibilities for
24    Jeffrey, to get her is a cell phone as part
25    of her masseuse obligations?
